           Case 6:20-bk-10759-WJ Doc 83 Filed 05/01/22                                            Entered 05/01/22 21:16:40                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 6
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 20-10759-WJ
Tomaso Giannelli                                                                                                       Chapter 13
Melanie Giannelli
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0973-6                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Apr 29, 2022                                               Form ID: 3180W                                                            Total Noticed: 42
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 01, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Tomaso Giannelli, Melanie Giannelli, 50 Bowridge Dr, Richmond Hill, GA 31324-7258
cr                     + Quicken Loans Inc., Wright, Finlay & Zak, LLP, c/o Arnold L Graff, Esq., SBN 269170, 4665 MacArthur Court, Ste 200, Newport Beach,
                         CA 92660-1811
cr                     + Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/, Wright, Finlay & Zak, LLP, 4665 MacArthur Court, Suite 200, Newport Beach, CA
                         92660-1811
40119209               + Sofi Lending Corp, Attn: Bankruptcy, 375 Healdsburg Avenue Suite 280, Healdsburg, CA 95448-4151
40119210               + Suntrust Bank/GreenSky, Attn: Bankruptcy, Po Box 29429, Atlanta, GA 30359-0429

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       EDI: EDD.COM
                                                                                        Apr 30 2022 04:13:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                       EDI: CALTAX.COM
                                                                                        Apr 30 2022 04:13:00      Franchise Tax Board, Bankruptcy Section MS:
                                                                                                                  A-340, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Apr 30 2022 00:15:00      USAA Federal Savings Bank, Robertson,
                                                                                                                  Anschutz, Schneid, Crane & Pa, 10700 Abbotts
                                                                                                                  Bridge Road, Suite 170, Duluth, GA 30097-8461
40119202                  EDI: HNDA.COM
                                                                                        Apr 30 2022 04:13:00      American Honda Finance, Attn: Bankruptcy, Po
                                                                                                                  Box 168088, Irving, TX 75016
40126849                  EDI: HNDA.COM
                                                                                        Apr 30 2022 04:13:00      American Honda Finance Corporation, National
                                                                                                                  Bankruptcy Center, P.O. Box 168088, Irving, TX
                                                                                                                  75016-8088
40335149                  Email/PDF: bncnotices@becket-lee.com
                                                                                        Apr 30 2022 00:16:45      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
40142852               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Apr 30 2022 00:16:46      Amex, Correspondence Bankruptcy, PO Box
                                                                                                                  981540, El Paso TX 79998-1540
40119203               + EDI: BANKAMER.COM
                                                                                        Apr 30 2022 04:13:00      Bank of America, 4909 Savarese Circle,
                                                                                                                  Fl1-908-01-50, Tampa, FL 33634-2413
40223574               + EDI: BANKAMER2.COM
                                                                                        Apr 30 2022 04:13:00      Bank of America, N.A., P O Box 982284, El Paso,
                                                                                                                  TX 79998-2284
40142851               + EDI: TSYS2
                                                                                        Apr 30 2022 04:13:00      Barclays Bank Delaware, PO Box 8803,
                                                                                                                  Wilmington DE 19899-8803
40119205               + EDI: CITICORP.COM
                                                                                        Apr 30 2022 04:13:00      Citibank, Attn: Recovery/Centralized Bankruptcy,
                                                                                                                  Po Box 790034, St Louis, MO 63179-0034
40119206                  EDI: CITICORP.COM
                                                                                        Apr 30 2022 04:13:00      Citibank North America, Citibank SD MC 425,
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District/off: 0973-6                                        User: admin                                                       Page 2 of 4
Date Rcvd: Apr 29, 2022                                     Form ID: 3180W                                                  Total Noticed: 42
                                                                                               5800 South Corp Place, Sioux Falls, SD 57108
40242193            EDI: CITICORP.COM
                                                                        Apr 30 2022 04:13:00   Citibank, N.A., 5800 S Corporate Pl, Sioux Falls,
                                                                                               SD 57108-5027
40142853          + EDI: WFNNB.COM
                                                                        Apr 30 2022 04:13:00   Comenity Bank Victoria Secret, Attn: Bankruptcy,
                                                                                               PO Box 182125, Columbus OH 43218-2125
40142854          + EDI: WFNNB.COM
                                                                        Apr 30 2022 04:13:00   Comenity Capital Bank HSN, Attn: Bankruptcy
                                                                                               Dept, PO Box 182125, Columbus OH 43218-2125
40142855          + EDI: WFNNB.COM
                                                                        Apr 30 2022 04:13:00   Comenity Capital Blnle, Attn: Bankruptcy Dept,
                                                                                               PO Box 182125, Columbus OH 43218-2125
40142856          + EDI: WFNNB.COM
                                                                        Apr 30 2022 04:13:00   Comenity Capital Ulta, Attn: Bankruptcy Dept, PO
                                                                                               Box 182125, Columbus OH 43218-2125
40193105          + Email/Text: bankruptcy@greenskycredit.com
                                                                        Apr 30 2022 00:15:00   Greensky, LLC, 1797 Northeast Expressway Suite
                                                                                               100, Atlanta, GA 30329-2451
40238328            EDI: JEFFERSONCAP.COM
                                                                        Apr 30 2022 04:13:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                               Saint Cloud Mn 56302-9617
40119204            EDI: JPMORGANCHASE
                                                                        Apr 30 2022 04:13:00   Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                               15298, Wilmington, DE 19850
40154027          + Email/Text: RASEBN@raslg.com
                                                                        Apr 30 2022 00:15:00   JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank
                                                                                               USA, N.A., c/o Robertson, Anschutz & Schneid,
                                                                                               P.L., 6409 Congress Avenue, Suite 100, Boca
                                                                                               Raton, FL 33487-2853
40335124            Email/PDF: resurgentbknotifications@resurgent.com
                                                                        Apr 30 2022 00:16:31   LVNV Funding LLC, c/o Resurgent Capital
                                                                                               Services, PO Box 10587, Greenville, SC
                                                                                               29603-0587
40235351            Email/PDF: resurgentbknotifications@resurgent.com
                                                                        Apr 30 2022 00:16:32   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                               PO Box 10587, Greenville, SC 29603-0587
40119207          + Email/Text: ZyCredit.A.User@lesschwab.com
                                                                        Apr 30 2022 00:16:00   Les Schwab Tire Center, P.O. Box 5350, Bend, Or
                                                                                               97708-5350
40241782            EDI: PRA.COM
                                                                        Apr 30 2022 04:13:00   Portfolio Recovery Associates, LLC, c/o Barclays
                                                                                               Bank Delaware, POB 41067, Norfolk VA 23541
40119208          + Email/Text: bankruptcyteam@quickenloans.com
                                                                        Apr 30 2022 00:16:00   Quicken Loans, Attn: Bankruptcy, 1050
                                                                                               Woodward Avenue, Detroit, MI 48226-3573
40171164          + Email/Text: bankruptcyteam@quickenloans.com
                                                                        Apr 30 2022 00:16:00   Quicken Loans Inc., 635 Woodward Avenue,
                                                                                               Detroit, MI 48226-3408
40241934            Email/Text: specialservicing@sofi.com
                                                                        Apr 30 2022 00:15:00   SoFi Lending Corp, 2750 E Cottonwood Pkwy
                                                                                               Suite 300, Cottonwood Heights, UT 84121
40119209          ^ MEBN
                                                                        Apr 30 2022 00:13:37   Sofi Lending Corp, Attn: Bankruptcy, 375
                                                                                               Healdsburg Avenue Suite 280, Healdsburg, CA
                                                                                               95448-4151
40119211          + EDI: RMSC.COM
                                                                        Apr 30 2022 04:13:00   Syncb/PPC, Attn: Bankruptcy, Po Box 965060,
                                                                                               Orlando, FL 32896-5060
40240716          + EDI: RMSC.COM
                                                                        Apr 30 2022 04:13:00   Synchrony Bank, c/o PRA Receivables
                                                                                               Management, LLC, PO Box 41021, Norfolk VA
                                                                                               23541-1021
40119212          + EDI: RMSC.COM
                                                                        Apr 30 2022 04:13:00   Synchrony/Ashley Furniture Homestore, Attn:
                                                                                               Bankruptcy, Po Box 965060, Orlando, FL
                                                                                               32896-5060
40134933            EDI: LCITDAUTO
                                                                        Apr 30 2022 04:13:00   TD Auto Finance LLC, P.O. Box 16041,
                                                                                               Lewiston, ME 04243-9523
40119213          + EDI: LCITDAUTO
                                                                        Apr 30 2022 04:13:00   Td Auto Finance, Attn: Bankruptcy, Po Box 9223,
                                                                                               Farmington Hilss, MI 48333-9223
40119214            EDI: USBANKARS.COM
                                                                        Apr 30 2022 04:13:00   US Bank, Attn: Bankruptcy, 800 Nicollet Mall,
                                                                                               Minneapolis, MN 55402
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District/off: 0973-6                                                 User: admin                                                            Page 3 of 4
Date Rcvd: Apr 29, 2022                                              Form ID: 3180W                                                       Total Noticed: 42
40221565                  + Email/Text: RASEBN@raslg.com
                                                                                      Apr 30 2022 00:15:00     USAA FEDERAL SAVINGS BANK, C/O
                                                                                                               WEINSTEIN & RILEY, PS, 10700 Abbott's
                                                                                                               Bridge Rd Ste 170, Duluth GA 30097-8461
40119215                  + EDI: USAA.COM
                                                                                      Apr 30 2022 04:13:00     USAA Federal Savings Bank, Attn: Bankruptcy,
                                                                                                               10750 Mcdermott Freeway, San Antonio, TX
                                                                                                               78288-1600
40119217                  + EDI: WFFC.COM
                                                                                      Apr 30 2022 04:13:00     Wells Fargo Bank NA, Attn: Bankruptcy, 1 Home
                                                                                                               Campus Mac X2303-01a, Des Moines, IA
                                                                                                               50328-0001

TOTAL: 38


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID             Bypass Reason Name and Address
intp                               Courtesy NEF
cr                                 TD Auto Finance LLC
cr                   *             LVNV Funding LLC, c/o Resurgent Capital Services, P.O. Box 10587, Greenville, SC 29603-0587
40119216             *+            USAA Federal Savings Bank, Attn: Bankruptcy, 10750 Mcdermott Freeway, San Antonio,, TX 78288-1600

TOTAL: 2 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 01, 2022                                           Signature:           /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 29, 2022 at the address(es) listed below:
Name                                Email Address
Arnold L Graff
                                    on behalf of Creditor Quicken Loans Inc. agraff@wrightlegal.net bkudgeneralupdates@wrightlegal.net

Arnold L Graff
                                    on behalf of Creditor Rocket Mortgage LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc. agraff@wrightlegal.net,
                                    bkudgeneralupdates@wrightlegal.net

Elizabeth Redmond
                                    on behalf of Interested Party Courtesy NEF notices@becket-lee.com

Julie J Villalobos
                                    on behalf of Debtor Tomaso Giannelli julie@oaktreelaw.com oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com

Julie J Villalobos
                                    on behalf of Joint Debtor Melanie Giannelli julie@oaktreelaw.com
                                    oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com

Rod Danielson (TR)
                                    notice-efile@rodan13.com

Sean C Ferry
                                    on behalf of Creditor USAA Federal Savings Bank sferry@raslg.com sferry@ecf.courtdrive.com
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Date Rcvd: Apr 29, 2022                                      Form ID: 3180W                                          Total Noticed: 42
Sheryl K Ith
                             on behalf of Creditor TD Auto Finance LLC sith@cookseylaw.com sith@ecf.courtdrive.com

United States Trustee (RS)
                             ustpregion16.rs.ecf@usdoj.gov

Valerie Smith
                             on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 10
      Case 6:20-bk-10759-WJ Doc 83 Filed 05/01/22                                                           Entered 05/01/22 21:16:40                                Desc
                          Imaged Certificate of Notice                                                      Page 5 of 6
Information to identify the case:
Debtor 1                 Tomaso Giannelli                                                                     Social Security number or ITIN         xxx−xx−0811

                         First Name     Middle Name      Last Name                                            EIN    _ _−_ _ _ _ _ _ _

Debtor 2                 Melanie Giannelli                                                                    Social Security number or ITIN         xxx−xx−0129
(Spouse, if filing)
                         First Name     Middle Name      Last Name                                            EIN    _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Central District of California

Case number: 6:20−bk−10759−WJ




Order of Discharge − Chapter 13                                                                                                                                              12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

             Tomaso Giannelli                                                                    Melanie Giannelli
             [include all names used by each debtor, including trade names, within the 8 years    [include all names used by each debtor, including trade names, within the 8 years
             prior to the filing of the petition]                                                prior to the filing of the petition]

             Debtor 1 Discharge Date: 4/29/22                                                    Debtor 2 Discharge Date: 4/29/22

             Dated: 4/29/22                                                                      By the court:                Wayne E. Johnson
                                                                                                                              United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 13 Case
This order does not close or dismiss the case.         Most debts are discharged
                                                       Most debts are covered by the discharge, but not all.
                                                       Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts              liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                               In a case involving community property: Special rules
attempt to collect a discharged debt from the                                           protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                       spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                             case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                       Some debts are not discharged
debtors by mail, phone, or otherwise in any                                             Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                                    ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                                    ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                              ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                                        U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                                   523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                                    the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                                                                                                              82/SH
                                                                                                                          For more information, see page 2 >


Form 3180W−doa3                                                          Order of Chapter 13 Discharge                                                   page 1
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      ♦ debts that the bankruptcy court has                           ♦ debts for restitution, or damages,
        decided or will decide are not discharged                       awarded in a civil action against the
        in this bankruptcy case;                                        debtor as a result of malicious or willful
                                                                        injury by the debtor that caused
                                                                        personal injury to an individual or the
      ♦ debts for restitution, or a criminal fine,                      death of an individual; and
        included in a sentence on debtor's criminal
        conviction;
                                                                      ♦ debts for death or personal injury
                                                                        caused by operating a vehicle while
      ♦ some debts which the debtors did not                            intoxicated.
        properly list;

                                                               In addition, this discharge does not stop
      ♦ debts provided for under 11 U.S.C. §                   creditors from collecting from anyone else who
        1322(b)(5) and on which the last payment               is also liable on the debt, such as an insurance
        or other transfer is due after the date on             company or a person who cosigned or
        which the final payment under the plan                 guaranteed a loan.
        was due;


      ♦ debts for certain consumer purchases                    This information is only a general
        made after the bankruptcy case was filed if             summary of a chapter 13 discharge; some
        obtaining the trustee's prior approval of               exceptions exist. Because the law is
        incurring the debt was practicable but was              complicated, you should consult an
        not obtained;                                           attorney to determine the exact effect of
                                                                the discharge in this case.




Form 3180W−doa3                            Order of Chapter 13 Discharge                         page 2
